          Case 1:23-cv-11918-DJC Document 18 Filed 11/13/23 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                    CASE NO: 1:23-cv-11918-DJC

LINNEA MENIN,
individually and on behalf of all
others similarly situated,                                      CLASS ACTION

        Plaintiff,                                              JURY TRIAL DEMANDED

v.

STAR MARKETS COMPANY, INC.

      Defendant.
__________________________________/

      PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO STAY DISCOVERY

        Plaintiff Linnea Menin hereby responds in opposition to Defendant Star Markets Company,

Inc’s Motion to Stay Discovery, (“Motion” or “Mot.”), [ECF 10], and states:

I.      INTRODUCTION

        Defendant’s Motion seeks a stay of discovery because Defendant contemporaneously filed

a Motion to Dismiss, (“Motion to Dismiss”), [ECF 7]. Subsequently however Defendant’s Motion

to Dismiss was rendered moot by the filing of Plaintiff’s Amended Complaint. [ECF 11]. See

Dialysis Access Ctr., LLC v. RMS Lifeline, Inc., 638 F.3d 367, 373 (1st Cir. 2011) (holding that a motion

to stay was moot when the motions it was predicated upon were resolved). Accordingly, there is no

basis to stay discovery in this matter as Defendant cannot establish good cause. As Defendant

cannot meet its burden, Defendant’s Motion should be denied.

II.     LEGAL STANDARD

        It is within the inherent power of this Court to manage the discovery process. See, e.g.,

Heidelberg Ams., Inc. v. Tokyo Kikai Seisakusho, Ltd., 333 F.3d 38, 41 (1st Cir. 2003) (“District courts


                                                   1
            Case 1:23-cv-11918-DJC Document 18 Filed 11/13/23 Page 2 of 3




exercise broad discretion to manage discovery matters.”). The Court has broad discretion

to stay discovery for "good cause shown" as part of pre trial management. NPS, LLC v. Ambac

Assurance Corp., 706 F. Supp. 2d 162, 167 (D. Mass. 2010) (citing Fed. R. Civ. P. 26(c)).

          Defendant bears the burden of showing good cause and reasonableness for a stay of discovery,

which is akin to a protective order under Fed. R. Civ. P. 26(c)(1). See Pub. Citizen v. Liggett Grp., Inc.,

858 F.2d 775, 789 (1st Cir. 1988). In determining whether Defendant has met this burden, the First

Circuit has written that “stays cannot be cavalierly dispensed: there must be good cause for their

issuance; they must be reasonable in duration; and the court must ensure that competing equities are

weighed and balanced.” Marquis v. F.D.I.C., 965 F.2d 1148, 1155 (1st Cir. 1992).

III.       ARGUMENT

a. Defendant Cannot Meet Its Burden of Establishing Good Cause
       Defendant cannot show good cause because its Motion to Dismiss has been rendered moot.

Accordingly, there is no potentially dispositive motion pending for the Court to consider. Furthermore,

Defendant provides nothing but conclusory statements regarding the supposed briefness of stay,

prejudice to Defendant and lack of prejudice to Plaintiff. See Motion at pgs 4-6. Defendant’s statements

are predicated on speculation, as Plaintiff has not even served discovery on Defendant at this time and

there is simply no way that Defendant could know how long a stay would last.

       To the extent that Defendant attempts to shift the burden to Plaintiff, with its claim that Plaintiff

will not be prejudiced by the stay, Defendant is incorrect. See Motion at 5. Plaintiff will be prejudiced

because she will be unable to obtain discovery to expeditiously advance her case. Additionally, witness

memories fade over time, original documents can be lost before trial, and thus a protracted stay leads to

irreversible loss of needed information. See Young v. Peraza, No. 15-60968-CIV--COHN/SELTZER,

2015 WL 4639736, at *2 (S.D. Fla. Aug. 4, 2015) (“Were the Court to grant the Motion [to stay],

Plaintiff would stand to suffer prejudice as the memories of eyewitnesses faded with the passage of

time.”). Defendant’s Motion does nothing to alleviate these discovery concerns regarding the protection



                                                      2
           Case 1:23-cv-11918-DJC Document 18 Filed 11/13/23 Page 3 of 3




of class data in particular. For instance, Defendant has not asserted that it has requested applicable call

logs from its vendors (or that it has the call logs in its possession) in order to protect the class data while

a stay is pending. Depending on which vendors were used by Defendant to send the text messages in

question, those vendors have retention/deletion policies which could result in critical class information

being deleted during any stay. Without Defendant taking steps to obtain those records and protect them,

a stay could be disastrous for Plaintiff and the putative class.


Dated: November 13, 2023




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